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                           Fax: 310.595.3300
                       6
                           Attorneys for Plaintiff
                       7   ALATUS AEROSYSTEMS, a
                           California Corporation
                       8
                       9                       UNITED STATES DISTRICT COURT
                      10                     CENTRAL DISTRICT OF CALIFORNIA
                      11
                      12   ALATUS AEROSYSTEMS, a                  CASE NO. 19-cv-1869
                           California corporation,
                      13                                           DECLARATION OF ADRIANA
                                       Plaintiff,                  ORTIZ IN SUPPORT OF
                      14                                           PLAINTIFF’S APPLICATION FOR
                                 v.                                TEMPORARY RESTRAINING
                      15                                           ORDER AND ORDER TO SHOW
                           MARIO VELAZQUEZ, an individual,         CAUSE WHY A PRELIMINARY
                      16   and DOES 1 through 50, inclusive        INJUNCTION SHOULD NOT
                                                                   ISSUE
                      17
                                       Defendants.                 Date: To Be Determined
                      18                                           Time: To Be Determined
                                                                   Courtroom: To Be Determined
                      19                                           Judge: To Be Determined
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                           DECLARATION OF ADRIANA ORTIZ IN SUPPORT OF APPLICATION FOR TRO
            Case 8:19-cv-01869-PSG-JDE Document 6-4 Filed 09/30/19 Page 2 of 13 Page ID #:85



                  1                 I, Adriana Ortiz, declare as follows:
                  2          1.     I am the Executive Vice President of Human Resources of Alatus
                  3    Aerosystems, a California corporation ("Alatus"). The matters stated below are true
                  4    and of my own personal knowledge, and if called as a witness, I could and would
                  5    competently testify to the same.
                  6          2.     I began working as the Human Resources Manager for Triumph
                   7   Structures — Los Angeles, Inc., a California corporation ("TSLA") in 2007. As the
                   8   Human Resources Manager, I was responsible for overseeing all Human Resources
                  9    functions for TSLA. This includes conducting and supervising training for new hires
                  10   and current employees, enforcing company policies, and conducting exit interviews
                  11   of employees.    On August 22, 2018, Aerospace Systems and Structures, LLC,
                  12   acquired 100% of the issued and outstanding stock of TSLA and on August 23, 2018,
                  13   changed TSLA's name to Alatus. I transitioned to become an Alatus employee with
                  14   the same responsibilities on that date.
                  15    I.   Defendant Velazquez's Employment with Alatus Termination.
                  16         3.     Defendant Mario Velazquez is Alatus' former program manager.
                  17   Mr. Velazquez was originally hired by TSLA on or around June 9, 2014.           He
                  18   subsequently became an employee of Alatus on August 23, 2018.
                  19         4.     As part of his duties, Defendant Velazquez was responsible for
                  20   interfacing between the Alatus production department and Alatus customers to
                  21   facilitate customer orders and ensure timely delivery of parts and products.
                  22   Mr. Velazquez worked primarily in the Brea and Walnut locations.
                  23         5.     As a condition of his employment with Alatus (and previously TSLA),
                  24   Defendant Velazquez was offered employment on or about May 19, 2014, and he
                  25   began work on or about June 9, 2014. On that date he entered into an employee
                  26   confidentiality agreement. This was later supplemented by an additional mutual
                  27   confidentiality agreement executed on June 16, 2016. True and correct copies of
                  28   these agreements are attached hereto as Exhibit A.
DLA PIPER LLP (US)                                              -1-
    LOS ANGELES
                        DECLARATION OF SCOTT HOLLAND IN SUPPORT OF APPLICATION FOR TRO
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                   1         6.     These agreements prohibited the unauthorized disclosure of Alatus'
                  2    information. In addition to his execution of these documents, Mr. Velazquez was
                  3    repeatedly reminded of his confidentiality obligations. In January of 2016, Mr.
                  4    Velazquez completed training regarding the confidentiality of government
                   5   documents and export controls. Further, TSLA had a strong Code of Business
                   6   Conduct in place. This Code of Business Conduct made clear that TSLA employees
                   7   were expected to maintain the confidentiality of information entrusted to them, and
                   8   this responsibility was in place both during and after employment. Mr. Velazquez
                   9   also completed training on this policy in January of 2016. True and correct copies
                  10   of those certificates of completion are attached hereto as Exhibit B.
                  11         7.     Alatus terminated Velazquez's employment on or about February 19,
                  12   2019 when his position was eliminated due to restructuring. As part of his exit
                  13   process, I conducted an exit interview with Mr. Velazquez. In that interview, I
                  14   reminded him of his ongoing confidentiality obligations, and collected Alatus
                  15   property in his position. At the conclusion of the interview he affirmatively stated
                  16   that he did not have any other Alatus property and that he had returned all of Alatus'
                  17   property to me.
                  18         I declare under penalty of perjury under the laws of the United States of
                  19   America that the above is true and correct, and that this was executed on
                  20   September   2     , 2019, at t   4y (4 ,J—th act4 California.
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                  28
DLA PIPER LLP (US)
    Los ANGELES                                                  -2-
                        DECLARATION OF ADRIANA ORTIZ IN SUPPORT OF APPLICATION FOR TRO
Case 8:19-cv-01869-PSG-JDE Document 6-4 Filed 09/30/19 Page 4 of 13 Page ID #:87




                  EXHIBIT "A"
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               Triumph Structures -                                                                                       AS9100 Registered
                                                                                                                        ISO 9001 Registered
               Los Angeles
               A Triumph Group Company

                              MUTUAL CONFIDENTIALITY AGREEMENT

               In connection with possible transactions between Triumph Structures-Los Angeles, Inc. and
                          , whereby each party may supply products and/or services to the other party, each
      party may provide the other party with certain information pertaining to _Triumph .. Struetures- •
      Everett Inc: which is either non-public, confidential, or proprietary in nature concerning its products
      and processes. All information furnished to the party, including any and all designs, specifications,
      plans, drawings, data, report, analysis, studies, test results, and other such information, whether in
      documentary or electronic format, which contain or otherwise reflect such information, is
      hereinafter referred to as the "Proprietary Information". The purpose of this agreement (the
      "Agreement") is to set forth the understandings between the Parties concerning the Proprietary
      Information. Accordingly, in consideration of one party furnishing the other party with the
      Proprietary Information, the Parties agree that:
               1.       Proprietary Information exchanged under this agreement shall not, without the
      disclosing party's prior written consent, be disclosed by the receiving party, or by its aftiliates,
      agents, representatives, or employees in any manner whatsoever, in whole or in part,                      and shall be

      used by , the_ receiving party or its affiliates, agents, representatives or employees, solely tor the
      purpose of evaluating whether to enter into further agreement with the disclosing party for the
      supply of products and/or services. Moreover, the receiving party agrees to reveal the Proprietary
      Information only to its affiliates, agents, representatives and employees who need to know the
      Proprietary Information and who are informed by receiving party of the confidential nature of the
      Proprietary lnformatien.
               2,     Upon the disclosing party's request, the receiving party will promptly return to the
      disclosing party all Proprietary Information furnished to receiving party, in whatever format, and
      will destroy all analyses, compilations, studies, and other material prepared by receiving party based
      in whole or in part on such Proprietary Information. Receiving party shall not use any of the
      Proprietary Information for any purpose other than as provided herein without the prior written
      consent of the disclosing party.
             3.      This agreement shall not apply to information which:
                     (a)     is already known by the receiving party prior to the date
                                 of this Agreement as shown by clear and convincing evidence;
                        (b)      is or becomes publicly known through no
                                 wrongful act of receiving party; or
                        (c)      is disclosed pursuant to a requirement of


                                                                                                                       Chatsworth, CA 91311
17056 East Gale Avenue • City of industry, CA 91745 • 20445 East Walnut Drive • Walnut, CA 91789 • 9301 Mason Avenue •
                                                  Tel: (1328) 9864830 v www.frfurnpfigroup.00m
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                             a governmental agency or disclosure
                    (d)      is required by operation of law.
             4.     The disclosing party has endeavored to include in the Proprietary Information those
      materials which it believes to be reliable and relevant for the purpose of its evaluation by receiving
      party. Receiving party acknowledges that the disclosing party makes no representation or warranty
      as to the accuracy or completeness of the Proprietary Information and receiving party agrees that
      neither the disclosing party nor any of its affiliates nor any of its or their agents, representatives or
      employees shall have any liability to the receiving party or its representatives resulting from the use
      or content of the Proprietary Information except as may be set forth in a subsequent agreement
      between the parties for products or services.
             5.     In the event that receiving party or anyone to whom receiving party transmits the
      Proprietary Information pursuant to this Agreement becomes legally compelled to disclose any of
      the Proprietary Information, receiving party will provide the disclosing party with prompt written
      notice so that it may seek a protective order or other appropriate remedy and/or waive compliance
      with the provisions of this Agreement. In the event that such protective order or other remedy is not
      obtained, or that Triumph waives compliance with the provisions of this Agreement, receiving party
      may disclose such Proprietary. Information to the extent compelled to do so without liability
      hereunder. Receiving party agrees that it will use reasonable efforts to obtain assurances that
      confidential treatment will be actorded to SU& information.
              6.      Receiving party agrees that money damages would not be a sufficient remedy for any
      breach of this Agreement by receiving party or its affiliates, agents, representatives or employees,
      and that in addition to all other remedies, the disclosing party shall be entitled to specific
      performance and injunction or other equitable relief as a remedy for any such breach.
             7.       This Agreement shall remain effective for a period of —420                  however
      the parties' obligation to keep information released under terms of the agreement confidential shall
      survive for a period of AO        Months/ Years following the documentable date of the given
      information's disclosure.
             8.      This Agreement embodies all the understandings and agreements heretofore had
      between the parties with respect to the subject matter hereof and may not be changed or terminated
      in advance of its expiration, except by an instrument in writing signed by the parties. In case any
      provision of this Agreement shall be invalid, illegal, or unenforceable, the validity, legality and
      enforceability of the remaining provisions of the Agreement shall not in any way be affected or
      impaired thereby.




                                                                                                                       Chatsworth, CA 91311
17065 East Gale Avenue • City of Industry, CA 91746 • 20445 East Walnut Drive • Walnut, CA 91789 • 9301 Mason Avenue •
                                                  Tel: (625) 966-1830 • www.idumphgroup.00m
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              The foregoing accurately sets forth the entire agreement between the parties for non-
       disclosure, indicated by the parties signing this Agreement in the space indicated below


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                                                                    By
                                                                            /1116../10
                                                                    Title
                                                                    Signature




17056 East Gale Avenue • City of Industry, CA 91745 • 20445 East Walnut Drive • Walnut, CA 91789 • 9301 Mason Avenue • Chatsworth, CA 91311
                                                  Tel: (826) 965-1830 • www.triumphgroup.00m
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                                                                            Employee
                   1 Triumph Structures                                   Confidentiality
                      Los Angeles, Inc.                                     Agreement
                                     A Triumtph Group Company


                                                 EMPLOYEE STATEMENT



                I,     a.4-0                                          ,
                                                       in consideration of my employment by
      Triumph Group Inc. or one bits affiliated companies, and the compensation to be paid to me,
      and intending to be legally bound agree as follows:

                1. Definitions. The term "Triumph" as used in this Agreement includes Triumph
      Group, Inc. and all of its divisions, subsidiaries and affiliates, including the above-named
      companies.

                 2. Disclosure of Confidential Information. I shall not at any time during my
      employment or thereafter, except as properly required in the course of my employment, use,
      publish, disclose or authorize anyone else to use, publish or disclose any Confidential
      Information belonging or relating to Triumph. Confidential Information includes, but is not
      limited to, models, drawings, blueprints, memoranda and other materials, documents or records
      of a proprietary nature; information relating to research, manufacturing processes, bills of .
      material, finance, accounting, sales, personnel management and operations; and information
      particularly relating to customer lists, price lists, customer service requirements, costs of
      providing service and equipment, pricing and equipment maintenance costs.

                 3. Use and Return of Company Property. I shall not, in the course of my
      employment or thereafter, use or permit others to use materials, equipment or other Triumph
      property for personal purposes. Further, I shall not make copies of, resell or transfer any
      computer software owned or licensed by Triumph. On termination of my employment, I will
      deliver to Triumph all property belonging to Triumph, and will not retain any copies or
      reproductions of correspondence, reports, drawings, photographs or documents containing
      Confidential Information or relating in any way to the business of Triumph.

                 4. Patents, Copyrights and Trade Secrets. I will disclose and hereby assign to
     Triumph any and all material of a proprietary nature, particularly including, but not limited to,
     material subject to protection as trade secrets or as patentable or copyrightable ideas which I may
     conceive, invent, or discover during the course of my employment with Triumph (including
     employment prior to the date hereof, if any) which relate to the business of Triumph, or were
     developed using Triumph's resources (collectively, the Alnventions@), and I shall execute and
     deliver all papers, including applications for patents and do such other acts (entirely at
     Triumph' s expense) as may be necessary for Triumph to obtain and maintain proprietary rights
     in any and all countries and to vest title to such Inventions in Triumph.
     FALaw1Model AgreeilmnIConfidentiallty and Paten: Agreement.doo
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                5. Term; Modifications. THE PROVISIONS OF THIS AGREEMENT SHALL
      SURVIVE TERMINATION OF MY EMPLOYMENT RELATIONSHIP WITH TRIUMPH.
      This Agreement may be modified or waived only by a written instruments signed by an officer or
      other authorized executive of Triumph.

                 6. Severability. The provisions of this Agreement shall be deemed severable, and
      the invalidity or unenforceability of any provision shall not affect the validity and enforceability
      of the other provisions hereof. If any provision of this Agreement is unenforceable for any
      reason whatever, such provision shall be appropriately limited and given effect to the extent that
      it may be enforceable.

               7. Governing Law. This Agreement shall be governed by and construed in
      accordance with the laws of the State of California applicable to contracts executed and
      performed exclusively in such State.



                   I HAVE READ THIS AGREEMENT AND FULLY UNDERSTAND ITS TERMS.

                    Signature

                   Signed at               a Lt-1"      Ci        , this G4 ' day of   174h -e   20414

                   Witness:




      FALaMModel AgreementsWonfidentiality and Patent Agreement.doc
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                   EXHIBIT "B"
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  Confidentiality (42 CFR)                                                                        Page 1 of 1



                                                 Print this Certificate




                                Certificate of Completion
                                              This certifies that

                                           Mario Velazquez
                                                 completed the


                              Confidentiality (42 CFR)
                                            course on 1/6/2016

                                                  Certified by:


                                                    ThuMph Group,. 1110,




                                           Triumph Group
                                      899 Cassatt Road, Suite 210
                                          Berwyn, PA 19312


                                   Close this window after printing the certificate.




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Case 8:19-cv-01869-PSG-JDE Document 6-4 Filed 09/30/19 Page 12 of 13 Page ID #:95
  Export Controls                                                                          Page 1 of 1




                                 Certificate of Completion
                                           This certifies that

                                         Mario Velazquez

                                             completed the

                                      Export Controls
                                          course on 1/27/2016

                                              Certified by:


                                          IF     urnpin Group, luo.


                                           Triumph Group
                                      899 Cassatt Road, Suite 210
                                          Berwyn, PA 19312




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  Code of Business Conduct for Triumph                                  Page 1 of 1




                                 Certificate of Completion
                                           This certifies that

                                         Mario Velazquez

                                             completed the


               x • Code     of Business          Conduct            for   Triumph

                                         course on 1/27/2016

                                              Certified by:


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                                                      Group, loo,



                                           Triumph Group
                                      899 Cassatt Road, Suite 210
                                          Berwyn, PA 19312




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